Case 2:10-md-02179-CJB-DPC Document 3782-1 Filed 08/19/11 Page 1 of 2

CONFERENCE ATTENDANCE RECORD

DATE: B- |4-

| TIME: 4:30

CASE NAME: IN RE: DEEPWATER HORIZON, ET AL.

DOCKET NUMBER

& SECTION: MDL 2179

DISCOVERY STATUS CONFERENCE

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NAME OF ATTORNEY PARTY(S) REPRESENTED
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NAME OF ATTORNEY PARTY(S) REPRESENTED

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